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                                                 #:139816

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           16
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           17
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S RESPONSE TO THE
                   a Delaware corporation,                       MARCH 16, 2023 REQUEST FOR
           21                                                    COMMENT
                                      Plaintiffs,
           22                                                    Pre-Trial Conference: Mar. 13, 2023
                         v.
           23                                                    Trial: Mar. 28, 2023
                   APPLE INC.,
           24      a California corporation,
           25                         Defendant.
           26
                                                 REDACTED IN ITS ENTIRETY
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                                               APPLE’S RESPONSE TO THE MARCH 16, 2023 REQUEST FOR COMMENT
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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